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           Gould
          Exhibit D
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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division




           ---------------------------------:
                                            :
           BMG RIGHTS MANAGEMENT (US) LLC, :
           et al.,                          :
                          Plaintiffs,       :
                                            : Case No. 1:14-cv-1611
                vs.                         :
                                            :
                                            :
           COX ENTERPRISES, INC., et al.,   :
                          Defendants.       :
           ---------------------------------:




                                     HEARING ON MOTIONS


                                        June 26, 2015


                          Before:    John F. Anderson, Mag. Judge




           APPEARANCES:

           John M. Caracappa, Paul Gennari, and Walter D. Kelley, Jr.,
           Counsel for the Plaintiffs

           Brian D. Buckley and Craig C. Reilly,
           Counsel for the Defendants




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     1    your lost profit analysis.

     2                MR. BUCKLEY:    So two responses to that, Your Honor.

     3    One is, I think the first point you made is more of a causation

     4    issue.   Even if you could figure out what component of a

     5    particular work, what value of that is related to downloads,

     6    how do you then connect the dots and say because Brian Buckley

     7    illegally downloaded this, I lost this dollar amount.                    That's a

     8    causation issue.

     9                In terms of specifically how do each of these things

    10    relate to a calculation of actual damages, honestly, my expert

    11    is going to tell me that.       I can't do it.       But our expert is

    12    saying, I can't get to an actual damages number, whether it

    13    ends up being relevant or not, unless I have more information.

    14                THE COURT:    Okay.

    15                MR. BUCKLEY:    And, Your Honor, I don't think the case

    16    law is --

    17                THE COURT:    What's the time period that you're

    18    looking for for that information?

    19                MR. BUCKLEY:    Three years prior to the lawsuit being

    20    filed.   So it was November of 2014.        So we would go back three

    21    years from that date.

    22                THE COURT:    All right.    Let me hear from the

    23    plaintiffs.

    24                I know that's why you chose statutory damages,

    25    because you didn't want to have to go through and do all the




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     1    stuff trying to calculate actual damages, but --

     2                 MR. CARACAPPA:   And because, as Your Honor noted,

     3    based on the financials alone, no one is sure how they are

     4    going to do it.     Because once you illegally download or upload

     5    or make available for download or upload a piece of music, it

     6    affects every area of distribution.          Because you don't just

     7    have the people that are uploading and downloading it, but it

     8    expands, and they make it available.           And you could lose not

     9    only Internet sales, but you could lose streaming and record

    10    sales.

    11                 So there isn't any way for anybody to take these

    12    financials and come up with an actual damages number.

    13                 I do have, to the extent the Court is interested,

    14    what we have produced to Cox.       Does the Court want to take a

    15    look at those?

    16                 THE COURT:   Well, just explain it to me so that I

    17    know what it is.

    18                 MR. CARACAPPA:   Okay.    So what did is we have the

    19    song, we have the year, and we have the income generated from

    20    that song.    It's my understanding it's for every copyrighted

    21    issue.   If it's not, then we can go back and provide that

    22    information for every copyright at issue.

    23                 THE COURT:   For both BMG and Round Hill?               I mean,

    24    he's indicated that for Round Hill it's not broken down by

    25    year.




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     1                MR. CARACAPPA:    That's correct, for Round Hill it is

     2    not broke down by year, and we can go back and do that.

     3                THE COURT:    But it's only revenue, not -- it only

     4    shows the revenue per work?

     5                MR. CARACAPPA:    That's correct.        It's not broken down

     6    by channel, for example.

     7                THE COURT:    Well, why is revenue -- I mean, obviously

     8    profit is going to be less than revenue.

     9                MR. CARACAPPA:    Yes.

    10                THE COURT:    Why aren't they entitled to get some

    11    sense as to what has been the profit for each copyrighted work

    12    as opposed to merely just the revenue?

    13                MR. CARACAPPA:    It's my understanding that the client

    14    doesn't do that by song.      The client doesn't -- the client is a

    15    business, it has profits and it has losses.              The revenue

    16    generated by the songs go to its bottom line.               But by song, it

    17    doesn't know how much profit or loss it has.               Obviously, the

    18    songs that generate more income are more profitable for them.

    19                And our issue was that the way the request is drafted

    20    and what they're asking for in the motion is far broader than

    21    anything that they're going to need to actually prepare an

    22    actual damages analysis.

    23                The revenue per channel, the units underlying the

    24    revenue per channel, the metrics used, again all of that

    25    information we don't think they need to perform an actual




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     1    damages analysis.     We think that what we provided is more than

     2    enough.    And they haven't been able to explain how this

     3    additional information, that level of granularity, is going to

     4    inform their expert or a jury.

     5                With respect to the information they ask for on

     6    page 4, it's the financial data related to the overall

     7    business, annual revenues, costs, expenses, incremental

     8    profits, that's not even asked for in any of their document

     9    requests or interrogatories.

    10                THE COURT:    Let me -- 106, 107, and 108, are they in

    11    the second --

    12                MR. CARACAPPA:    They are Exhibit A to Cox's --

    13                THE COURT:    All right, I've got it.

    14                MR. CARACAPPA:    I'm sorry, they are Exhibit A to our

    15    opposition.

    16                THE COURT:    Well, 106, all documents evidencing your

    17    loss of revenues and profits as a result of the infringements.

    18                That would indicate one would have to produce

    19    documents relating to revenue and profits, right?

    20                MR. CARACAPPA:    The problem is:        As the result of the

    21    infringements.     And that's the issue that we have with the

    22    request and that's the issue that we've been talking about.

    23    Which is, you can't prove a but for, but for this one download

    24    we would have lost income related to the album sales, or

    25    digital downloads, or streaming, or licensing.




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     1                MR. BUCKLEY:    Your Honor, can I make one point?

     2                THE COURT:    Okay.   Thank you.

     3                MR. BUCKLEY:    That may all be true, and that's our

     4    problem and our expert's problem.        Plaintiffs don't have to

     5    calculate any of this.      When our expert does his analysis, if

     6    plaintiffs think there are issues with it, or that it's flawed,

     7    or that if it's not relevant, they are obviously free to argue

     8    that.

     9                And it is not their burden to prove actual damages.

    10    They are proceeding on a statutory damages theory and are

    11    entitled to do that.

    12                We, however -- and I really don't think the law is

    13    ambiguous on this.     There are two Eastern District cases right

    14    on point.    We have a right to prove actual damages and to

    15    introduce that as part of the statutory damages analysis.

    16    There is zero question that we can't do it with what we've been

    17    provided.    I mean, Mr. Caracappa doesn't even dispute that.                     We

    18    can't do it with revenue figures.

    19                So we have to have some additional detail.                   And the

    20    question is just what additional detail.            And we've identified

    21    pretty specifically what our expert needs.               It should not be --

    22    and again, I don't want to, I don't want to be glib about the

    23    burden here, but this is a very significant case with

    24    significant damages involved, going and collecting this

    25    information and providing it in the scope of all of the




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     1    discovery that's occurred in this case should not be relatively

     2    that burdensome.

     3                THE COURT:    I mean, I read in -- I can't remember

     4    which one of the two cases that I read that you've cited, I

     5    think it was the Dae Han Video Production one that I pulled up

     6    and read, the older one, it talks -- and my recollection of

     7    that case, and it was yesterday evening, was not that you prove

     8    what actual damages are, but it has to be some overall general

     9    relationship or some ballpark figure dealing with actual

    10    damages.    Not that you are going to be coming in and proving

    11    what actual damages are, or that you're entitled to do that, or

    12    that that's necessary.

    13                Am I -- did I --

    14                MR. BUCKLEY:    Well, what the cases say, Your Honor,

    15    is that when you're considering statutory damages, you

    16    actually -- one of the two Eastern District cases actually says

    17    you start with actual damages.

    18                So I don't think there is any dispute about that.                     So

    19    then the question is just, how do you calculate actual damages?

    20    And again, that's not plaintiffs' problem or Your Honor's

    21    problem, we have to figure that out.          Cox has to figure it out.

    22    And we have hired an expert to do that.

    23                But in order to compare actual damages to statutory

    24    damages, somebody has to calculate actual damages, and we're

    25    going to take on the burden of doing that, but we need the data




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      1    to do it.

      2                THE COURT:     By copyright you plan to do that?

      3                MR. BUCKLEY:     We will try.      And they have a financial

      4    expert who will look at what our expert does and I'm sure try

      5    to poke holes in it.       And they will claim that his methodology

      6    is flawed, and we will have an argument about that, but we're

      7    entitled under the law to give it a try.             And the case law says

      8    that when it comes time to actually consider damages, the Court

      9    needs to take actual damages into account.                So somebody has to

     10    try.

     11                THE COURT:     What information does the plaintiff

     12    actually have that relates to the damages calculation?                     On a

     13    per channel basis and then about -- you know, I assume you

     14    don't keep documents as to each revenue minus operating income

     15    and things like that for each copyrighted work?

     16                MR. CARACAPPA:     That's right, we don't.

     17                THE COURT:     How is it that the records are kept or

     18    the books kept for each of the two plaintiffs here?

     19                MR. CARACAPPA:     Let me rephrase the question

     20    slightly.

     21                THE COURT:     Okay.

     22                MR. CARACAPPA:     I'm not exactly sure how the records

     23    --

     24                THE COURT:     It was probably poorly phrased, and I

     25    understand.     No, I --




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      1                MR. CARACAPPA:     I'm not exactly sure how the records

      2    are kept, but what they can do is they can break the copyrights

      3    down by channel.      So they can do physical album sales, digital

      4    downloads, streaming royalties, and licensing royalties.                      And

      5    they can do that, it's my understanding, per copyright by year

      6    for both BMG and Round Hill.

      7                THE COURT:     Okay.   So that's revenue?

      8                MR. CARACAPPA:     That is revenue --

      9                THE COURT:     Revenue for each copyright?

     10                MR. CARACAPPA:     Yes.

     11                THE COURT:     Okay.   Are there -- and I take it the

     12    portfolio for the overall revenue for each of these entities

     13    comes from many more copyrights than just those that are

     14    involved in this lawsuit?

     15                MR. CARACAPPA:     Yes, Your Honor.

     16                THE COURT:     But if you knew the percentage of what

     17    this revenue is and the overall revenue, and you wanted to

     18    ballpark something, you could just assign -- if it's 20 percent

     19    here, 20 percent of the operating expenses, to come up with

     20    what ballpark would be, the actual profits per -- all right.

     21                Do they keep -- I take it they would have to keep

     22    operating -- do an overall business level sheet of revenues,

     23    operating expenses, and profit, is that right?

     24                MR. CARACAPPA:     Yes, Your Honor, they do have that

     25    information generally with respect to the company --




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      1                THE COURT:     Company, all right.

      2                MR. CARACAPPA:     -- not with respect to individual

      3    copyrights.

      4                THE COURT:     All right.    What I'm going to do -- you

      5    know, I tell you, if I have them produce all this information

      6    and you decide I'm going to just ignore it, I'm going to award

      7    costs for them to do this.

      8                I mean, you're asking for it.          I'm not going to have

      9    them go off and do this fishing expedition to get you a bunch

     10    of information and then you just sit back and laugh about it.

     11                I mean, you've represented to the Court that you've

     12    got an expert and that your expert is going to put in the time

     13    and effort and money to coming up with an actual damages

     14    calculation.     And I'm not going to have them go off and do this

     15    just because you think it might be relevant, and then you get

     16    it and you decide, I don't want to use it.                Okay.    If you do

     17    that, you're going to pay for it.

     18                MR. BUCKLEY:     I understand, Your Honor.             And I commit

     19    to you that that is absolutely not what this is about.                     We are

     20    going to use the information.        This is not a fishing

     21    expedition.     And we are certainly not going to just sit back

     22    and laugh that we imposed a burden on the plaintiffs.                     That's

     23    not what this is about.

     24                THE COURT:     All right.    Well, I'm going to have them

     25    produce the information on a per channel basis and overall




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      1    company profit/loss information, operating expenses.

      2                So that hopefully once you get your portion of the

      3    revenue from these copyrighted works during the time period,

      4    you can look at the portion of the revenue from the entire

      5    company and, you know, do -- your expert can come up with some

      6    type of analysis as to, you know, what share of the operating

      7    expenses and things and hopefully come up with some sort of a

      8    ballpark as to what the profit would have been for that based

      9    on the revenues per channel and overall revenue and profit from

     10    the company.

     11                All right.     So that will take care of that motion to

     12    compel.

     13                The motion to seal, let's deal with that one next.                      I

     14    don't really understand why any of the information that you're

     15    asking to be filed under seal should be under seal.

     16                You know, I went back and just -- if this case ends

     17    up having a lot of material that you are going to try and file

     18    under seal other than identifying information of subscribers,

     19    at some point we're going to have to deal with that issue, but

     20    the idea that ISP numbers are changed and information kept for

     21    a certain period of time, what is commercially sensitive,

     22    confidential, or whatever about that information that it

     23    shouldn't be in the public record?          Or that, you know, certain

     24    records aren't kept after a certain period of time?

     25                I went through -- and let me just -- I am going back




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